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    1                        UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA
    2                               MIAMI DIVISION
                               CASE NO. 20-CV-22471-DPG
    3

    4    NORTH AMERICAN SUGAR                      Miami, Florida
         INDUSTRIES, INC.,
    5
                Plaintiff,                         October 14, 2020
    6
                    vs.                            11:00 a.m. to 11:40 a.m.
    7
         XINJIAN GOLDWIND SCIENCE                  Pages 1 to 33
    8    & TECHNOLOGY CO., LTD, et al.,

    9          Defendants.
         ______________________________________________________________
   10
                              TELEPHONIC MOTION HEARING
   11                   BEFORE THE HONORABLE DARRIN P. GAYLES
                            UNITED STATES DISTRICT JUDGE
   12
         APPEARANCES:
   13
         FOR THE PLAINTIFF:           MIGUEL A. ESTRADA, ESQ.
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   16                                         -and-
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   22    FOR GOLDWIND INTERNATIONAL:

   23                                 ALLEN P. PEGG, ESQ.
                                      REGINALD CUYLER, JR., ESQ.
   24                                 HOGAN LOVELLS LLP
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                                                                                    2


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         FOR BBC CHARTERING USA
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   12

   13    STENOGRAPHICALLY REPORTED BY:

   14
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    1              (Call to the Order of the Court.)

    2              COURTROOM DEPUTY:    Calling North American Sugar

    3    Industries versus Xinjiang Goldwind Science & Technology

    4    Company Limited, and all.      Case number 20-CV-22471.

    5              Counsel, please make your appearance.

    6              MR. ESTRADA:    Good morning, Your Honor, this is Miguel

    7    Estrada, E-S-T-R-A-D-A, from Gibson Dunn & Crutcher in

    8    Washington, DC.

    9              With me on the line are counsel from my firm, Audi

   10    Syarief and Casey Lee, and also our Miami colleague, David

   11    Mandel.

   12              THE COURT:   All right.    Good morning.

   13              MR. ESTRADA:    All right.   Good morning.

   14              MR. PEGG:    Good morning, Judge Gayles, this is Allen

   15    Pegg.   I am here with my colleague, Reginald Cuyler from Hogan

   16    Lovells in Miami, on behalf of Goldwind International.

   17              MR. BROCHIN:    Good morning, this is Bobby Brochin of

   18    Morgan Lewis, and I'm on behalf of defendant DSV Air & Sea.

   19              MR. SURGEON:    Good morning, Your Honor, this is Naim

   20    Surgeon from Akerman on behalf of defendants, BBC Chartering,

   21    USA, LLC, and BBC Chartering Singapore, PTE, LTD.

   22              With me on the line are also my colleagues Pedro Freyre

   23    from Miami and Martin Dom from New York.

   24              THE COURT:   Okay.   Is that everyone for the defendants?

   25              MR. PEGG:    It is, Your Honor.
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    1              THE COURT:   Okay.   Good morning, everyone.

    2              I set this down for a hearing, and I am mindful that

    3    all of the motions are not yet ripe but because the parties'

    4    motions, competing motions pretty much address all the issues,

    5    I guess the central issue is how we should proceed, if at all,

    6    and whether there -- I mean, at bottom, it's the issue on

    7    whether or not the Court has subject matter jurisdiction and

    8    separately whether or not the Court has personal jurisdiction

    9    over some of the defendants and both sides have asked me to

   10    stay briefing and/or discovery regarding these issues.

   11              So I just wanted to get some sense from the parties

   12    about how I should proceed.

   13              Now, I just want to give some overarching, an

   14    overarching observation, and then I will turn to, first,

   15    Mr. Estrada for the plaintiffs.

   16              That overarching observation is, before I decide

   17    anything, don't I have to decide if I have subject matter

   18    jurisdiction, including whether or not there is personal

   19    jurisdiction over the individual defendants?

   20              I know that there is a request to allow jurisdictional

   21    discovery, but my concern is I am not sure whether I or a

   22    magistrate judge can even rule on discovery matters until it's

   23    first determined whether I have subject matter jurisdiction.

   24              I guess the first question for you, Mr. Estrada, is why

   25    shouldn't I first make that determination before anything else?
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    1              MR. ESTRADA:    Thank you, Your Honor.

    2              This is, again, Miguel Estrada for North American Sugar

    3    for benefit of the court reporter.

    4              Let me just sort of take that question first, and I

    5    think, you know, the formulation of the question as you framed

    6    it is exactly right.     The question is decision.

    7              You know, the question is really controlled by three

    8    Supreme Court cases.     There is Steel Company, Ruhgras and

    9    Sinochem.

   10              Steel Company from 1998 by the late Justice Scalia that

   11    basically held, you know, the proposition that you could not

   12    assume jurisdiction in order to render a decision on the

   13    merits.   That was followed by Ruhgras some years later in

   14    which, you know, the Court answered the question of whether you

   15    had necessarily to decide subject matter jurisdiction ahead of

   16    personal jurisdiction, and then Sinochem where the question was

   17    whether you could decide forum non conveniens without deciding

   18    either personal jurisdiction or subject matter jurisdiction,

   19    and the last word on Sinochem was, so long as the Court doesn't

   20    make any definite ruling on the merits of the case, non merits

   21    resolutions for the management of the case are okay.

   22              So, it is okay for the Court, for example, as the Court

   23    held in Sinochem to send the case to a different forum or to do

   24    things that it needs to do for the management of the case,

   25    which I think addresses, you know, the second part of the
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    1    question.    And so the formulation of the core principle that

    2    was inherent in the first part of your question is correct, you

    3    cannot render a decision on the merits, that is, decide the

    4    controversy without deciding subject matter jurisdiction.

    5              The second premise of the question which sort of

    6    assumes that it is impossible to manage the case provides

    7    interim orders for discovery so that the parties can get these

    8    other issues such as 12(b)(2), for example, ready for your

    9    consideration is not so well taken because, the three cases I

   10    mentioned basically stand for the proposition that the decision

   11    on the ultimate merits may not be had without a decision of

   12    jurisdiction first.

   13              But as between the merits rulings, you know, the Court

   14    may choose between those in handling, you know, the case.           So

   15    that's why the Court could say in the Ruhgras, you know, the

   16    second case in the series that you could do 12(b)(2) or

   17    12(B)(1) since both were non merits position in the case.

   18              To get back to the contentions raised in this case and

   19    the rival motions that you identified at the beginning of the

   20    hearing, where we are is, you know, the defendants have filed a

   21    joint motion to dismiss.      One of the contentions in that joint

   22    motion to dismiss is that there is no subject matter

   23    jurisdiction on the Article III of the Constitution.

   24              As you will see in the brief and opposition that we

   25    will file, that is a contention that has been presented to
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    1    courts in this district and has been unanimously rejected by

    2    the courts in this district.      So to the extent that the time

    3    comes later down the road where the ruling, where a ruling on

    4    the merits might be needed is not one that will sort of carry

    5    the Court but, you know, it is something that we argue -- that

    6    we argue on its own.

    7              We do recognize they have made the argument.        It is not

    8    one that happens to have a lot of merits based on the

    9    assessment of other judges in this district who have looked at

   10    the identical case.

   11              With respect to the motion that we have made with

   12    jurisdictional discovery, that is addressed to the issues that

   13    the defendants raise separately in three different motions to

   14    dismiss for lack of personal jurisdiction.

   15              Our basic contention there is that we have a number of

   16    allegations of fact in our complaint that the defendants have

   17    chosen to dispute with affidavits and declarations and

   18    documents in which they have a range of assertions that dispute

   19    the elements of personal jurisdiction.        In filings made as late

   20    as almost midnight last night, they have attached additional

   21    documents while at the same time contending that no discovery

   22    is needed.

   23              I am prepared to address the back and forth on personal

   24    jurisdiction and why discovery is needed.        I don't want to get

   25    ahead of myself in purposes of the question that you asked and
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    1    give you a long argument, but for purposes of the question that

    2    you asked, I believe the law is clear that while you may now

    3    render a ruling on the merits of the controversy without

    4    assuring yourself that you have subject matter jurisdiction,

    5    you can certainly manage the case and issue no merits

    6    disposition such as that having to do with, as Sinochem says,

    7    for example, to forum non or, you know, discovery and things of

    8    that nature without running afoul of the rule of Steel Company.

    9              THE COURT:   And just so I am clear, and I know the

   10    motion is not fully ripe but the jurisdictional discovery,

   11    that's your motion to request jurisdictional discovery.

   12              MR. ESTRADA:    That is right.

   13              THE COURT:   What discovery do you need within this

   14    period?

   15              MR. ESTRADA:    Well, let me just take a step back and

   16    start with a definition of what the issue is because I don't

   17    think we actually have an agreement on what the scope of the

   18    controversy is and given how the pleadings that were filed last

   19    night are framed, that may be an important part of the

   20    controversy.    We have a claim under a statutory cause of

   21    actions that a federal cause of action.        It's the Helms-Burton

   22    Act.

   23              For our purpose and for purposes of the Florida

   24    Long-Arm Statute, we would consider that a tort, a federal

   25    tort.
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    1              Now, the defendants would like to describe the tort as

    2    if it were nothing more than dropping anchor in front of a port

    3    in Cuba, and on that basis basically say nothing happened in

    4    Florida that is relevant to personal jurisdiction.

    5              I would like to draw the Court's attention because I

    6    think it is the starting point of the analysis to what the

    7    statutory definition of the tort actually is, and it is not

    8    merely showing up at the confiscated port in Cuba and not

    9    merely using the port in Cuba but it is -- and I am now quoting

   10    from Section 6023 of the statute, Title 22, Subsection 13 --

   11    "Engaging in a commercial activity using or otherwise

   12    benefitting from the confiscated property."

   13              So it's engaging in a commercial activity that used or

   14    otherwise benefited from the confiscated property or and

   15    causing or participating or profiting from that activity.

   16              So the breadth of the statutory tort is, you know, not

   17    only using the port but engaging in a commercial activity that

   18    benefitted from that port.      So for purposes of our discovery

   19    dispute here and the personal jurisdiction dispute, we are

   20    arguing about whether a conceded stop in Florida, which one of

   21    the defendants before you has filed declarations and a brief

   22    asserting it was essential to comply with other federal laws,

   23    whether that was part of the commercial activity that

   24    ultimately used the confiscated port and, more relevantly,

   25    whether under the Florida Long-Arm Statute, the tort prong of
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     1   the statute, whether it was a substantial aspect of the alleged

     2   tort, the alleged tort being defined, again, as the engaging in

     3   the commercial activity that used the port.

     4             They have filed -- with that as the background, they

     5   have filed declarations that go from stating that our

     6   allegations in the complaint are factually mistaken that are

     7   just not true because, say, for example, codes that were

     8   transmitted and that are publicly available from federal

     9   government sources were submitted in error, and our point to

   10    that is like wait a moment, we need to take, you know,

   11    discovery on that.     You show, surely, you don't expect us to

   12    accept your declaration that it was all a big error.          So that's

   13    DSV, just to give you an example.

   14              Then we had Goldwind that has public statements which

   15    we have cited all over the complaint in our motion saying that

   16    they were the party that engaged, that entered into the

   17    contract for the delivery of these turbans filed a declaration

   18    saying that they had nothing to do with this.

   19              Now, keep in mind that the tort is engaging in the

   20    commercial activity that used the port so they filed an

   21    affidavit that it's a blanket denial of having engaged in the

   22    relevant commercial activity that used the port with a

   23    necessary stop in Florida, so on and so forth.          You know, BBC

   24    USA sort of says in his website that they are there to support,

   25    you know, their ships once they enter, you know, the Caribbean
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     1   but they say in this case they have nothing to do with it.

     2              Now, they have chosen to oppose our complaint with

     3   motions that not only ignore what the statutory tort is but

     4   also put in a slew of actual material that we are expected to

     5   take at face value.      Now, it seems to me that we are entitled

     6   to probe each of these factual allegations and to serve

     7   discovery, which I am happy to, you know, list, and I think as

     8   a general proposition it will be better for the Court to let us

     9   serve discovery in the confines of Rule 26 rather than try to

   10    narrow the discovery at the outset because I think that is to

   11    lead to more squabbles and fights, but, you know, if that were

   12    the issue for the day, I would also, you know, be happy to

   13    outline what the parameters or what would obviously the

   14    relevance would be.

   15               THE COURT:   Okay.   Who is going to speak first for the

   16    defendant?

   17               MR. PEGG:    Judge, this is Allen Pegg with Hogan

   18    Lovells.    I think I will speak, if I could, circling back to

   19    Your Honor's initial point which was, shouldn't Your Honor for

   20    either, you know, Court ability to move forward with the

   21    challenge to subject matter jurisdiction challenges out there,

   22    should Your Honor, can Your Honor go forward with the rest of

   23    the case.    I think I will speak primarily on behalf of the

   24    defendants to that initial point.

   25               THE COURT:   Okay.
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     1             MR. PEGG:    So, Judge, as Your Honor noted and as we

     2   articulated in our joint motion to stay earlier this week, we

     3   think that all of the factors under the regular cases,

     4   Chudasama and others, point to the sensibility of a stay of all

     5   proceedings, jurisdictional discovery and otherwise, until the

     6   omnibus motion to dismiss is resolved.

     7             Counsel noted that there is one contention in the

     8   omnibus motion that challenges the Court's subject matter

     9   jurisdiction and, Your Honor, there is actually multiple

   10    grounds attacking the subject matter jurisdiction, not only

   11    against Article III standing issues, which is what counsel, I

   12    believe, referenced and then also deficiencies in the Court's

   13    subject matter jurisdiction based on the plaintiff's own

   14    conduct and lack of disclosures on the bankruptcy proceedings.

   15              Your Honor, that opposition is due to be filed today

   16    and we think that it makes sense for that core issue to be

   17    resolved which may moot out, Judge, all the other discussion

   18    about jurisdictional discovery, either sufficiency of grounds

   19    for it and what forums it will take that counsel then went

   20    into.

   21              So I think regardless whether under the trilogy of

   22    Supreme Court cases that I heard defense plaintiff's counsel go

   23    through, regardless of whether or not the Court can, as a

   24    matter of authority, move forward in personal jurisdiction

   25    issues, we think that there is no reason that the Court and the
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     1   parties should move forward as we outlined in the joint motion.

     2              Not only does the omnibus motion, which, again, will be

     3   fully briefed, unlike the jurisdictional issues, which will be

     4   fully briefed fairly soon with the opposition being filed

     5   today, not only does that omnibus motion have attacks on the

     6   Court's subject matter jurisdiction but there are other

     7   substantive grounds to challenge and we think that will support

     8   dismissal of the plaintiff's claims.

     9              So for judicial efficiency, for party efficiency we

   10    think the joint motion to stay should be taken up first.           We

   11    think that motion under the relevant consideration should be

   12    granted.    We then think the omnibus motion should be resolved,

   13    and if at the end of that streamline process there is anything

   14    left of this case, we can then take up the issue of whether or

   15    not any jurisdictional discovery is warranted and if so, of

   16    what type.

   17               THE COURT:   And just so I am clear again, I know it's a

   18    short motion.     I am trying to remind myself.      What you are

   19    asking me to stay is everything until I -- including briefing

   20    on -- would that include briefing on the motion, on the

   21    separate motions to dismiss for lack of personal jurisdiction

   22    as well?

   23               MR. PEGG:    It would, Your Honor.    So, essentially, the

   24    result of the motion for stay being granted would be that we

   25    received plaintiff's opposition to the omnibus motion today.
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     1   Defendants then file their reply brief.         We need to see their

     2   opposition, of course, before we can determine with when that

     3   reply brief will be filed but it will be in relatively short

     4   order.    That reply brief will be filed and then that motion is

     5   fully briefed and ready for resolution with everything else,

     6   including the jurisdictional briefing stayed and the motions to

     7   dismiss on personal jurisdiction, to be clear, stayed.

     8             THE COURT:    You heard Mr. Estrada argue that -- he drew

     9   the distinction that normally where a subject matter

   10    jurisdiction is being questioned that courts should not address

   11    substantive issues or merits issues until that has been

   12    resolved, and he argued that personal jurisdiction issues and

   13    discovery issues are not merits determining who could and

   14    couldn't proceed.

   15              How do you respond to that?

   16              MR. PEGG:    Sure, Judge, so as I said, and I don't have

   17    the benefit of having recently read that trilogy of Supreme

   18    Court cases but I accept counsel at the representation.           So

   19    regardless whether or not the Court has the authority to move

   20    forward in allowing for jurisdictional discovery, for example,

   21    while there is a pending challenge to the subject matter

   22    jurisdiction, regardless of whether or not Your Honor has that

   23    authority, for purposes of efficiency and getting things in the

   24    right sequence and procedural order, the Court should exercise

   25    your discretion to stay those issues and allow the briefing on
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     1   the subject matter jurisdiction and other grounds for dismissal

     2   to close in relatively short order and get a decision on that.

     3             There is no reason as to why even if there is an

     4   ability to allow for jurisdictional discovery, as to why that

     5   should go forward and for the various factors articulated in

     6   the cases that we cite in the joint motion to stay.

     7             THE COURT:    Okay.

     8             MR. PEGG:     I will finally note, Your Honor, that the

     9   types of jurisdictional discovery that counsel outlined all

   10    sounded, and I understand that this motion isn't yet fully

   11    briefed with our oppositions having been filed, oppositions to

   12    the jurisdictional discovery motions yesterday and the day

   13    before but all of that discussion sounded more like merits

   14    discovery much more than jurisdictional discovery.

   15              I wrote down that counsel said that they want to

   16    explore how the defendants were engaging in commercial activity

   17    that used the port.      Well, that's the core merits issue under

   18    Article III claim.     I heard very little about how any

   19    jurisdictional discovery would touch on establishing specific

   20    jurisdiction over any of the defendants.

   21              So, again, I don't think that there is a reason to.          I

   22    think Your Honor has ample discretion to not allow

   23    jurisdictional discovery, and there are weighty reasons why the

   24    subject matter jurisdiction and other dismissal arguments on

   25    the face of the papers should be taken up first.
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     1             THE COURT:    Okay.   Anything anyone wants to add for any

     2   of the other defendants?

     3             All right.    Hearing silence, returning back to the

     4   plaintiff then, anything else in reply?

     5             MR. ESTRADA:    Yes, Your Honor, let me just say two

     6   things which I had not addressed earlier to respond to what

     7   Mr. Pegg said.     I had not addressed the second contention that

     8   he identified that is raised in the motion to dismiss because I

     9   find it hard -- I find it very hard to believe that he really

   10    does contend that it is a subject matter jurisdiction claim.

   11              This, as you will see when you turn to that motion, is

   12    a contention based on the fact that my client and some of his

   13    affiliates had gone through a bankruptcy.         Now, the joint

   14    motion to dismiss has a couple of arguments based on the

   15    bankruptcy proceedings that are supported by, I kid you not,

   16    almost 2,000 pages of extrinsic, you know, materials.

   17              As we will point out in the motion to dismiss that we

   18    are filing today, what this ultimately is is a defense of

   19    estoppel, which not only is a non meritorious one but as every

   20    civil procedure first year student will tell is an affirmative

   21    defense they should put in their answer.

   22              It's not a subject matter jurisdiction contention, and

   23    it is not something that is even appropriate to raise in a

   24    motion to dismiss, even if they contend that the Court might

   25    take judicial notice of proceedings in a different court, which
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     1   if they attempt to present them here is actually not the case.

     2             So I will give them, you know, the benefit of something

     3   that they are raising as subject matter jurisdiction contention

     4   with respect to Article III while pointing out that no court on

     5   the planet has accepted this argument and that every court that

     6   has considered it has turned them down.         And on that note, I

     7   will then turn to their, you know, their reliance on the

     8   Chudasama case from the Eleventh Circuit where, you know, the

     9   issue was whether the Court should have, whether the district

   10    court should have forced the defendant to engage in merits

   11    discovery while engaging in what the Court of Appeals

   12    characterized as an exceedingly lengthy delay in the resolution

   13    of the motion to dismiss when, as the Court of Appeals assessed

   14    it, the theory of the complaint was, quote, "an especially

   15    dubious fraud claim."

   16              Now, one can say many things but you can look at the

   17    motion to dismiss and, you know, the grounds are not that we

   18    have an especially dubious theory of the bracket under which we

   19    are suing.    You know, they have other claims based on

   20    bankruptcies and based on Article III that no one has bought

   21    and, you know, this motion is what it is, but this is not the

   22    Chudasama case by any --

   23              THE COURT REPORTER:     I'm sorry, this is not the what

   24    case?

   25              MR. ESTRADA:    This is not the Chudasama case --
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     1   C-H-U-D-A-S-A-M-A case.      It's a court of appeals case -- by any

     2   stretch.

     3              The second point that I would say about that case is

     4   that also even that case recognized that jurisdictional

     5   discovery may be appropriate.

     6              With respect to the motion that they filed just a

     7   couple of days ago to stay all proceedings, you know, what this

     8   case comes to is they would like to have the resolution of the

     9   motion to dismiss and stay everything else.         We would like to

   10    have jurisdictional discovery while you consider the motion to

   11    dismiss.

   12               As we said earlier, I think that that's appropriate

   13    under the existing cases from the Supreme Court, but I think

   14    it's also appropriate for efficiency because even their cases

   15    recognize that if you can tell from the papers on the motion to

   16    dismiss that no one has bought the argument they are making on

   17    Article III that it is appropriate to go forward with these

   18    other housekeeping matters and not waste, you know, the time.

   19               There is a second consideration that I haven't raised

   20    and I think it's relevant to the equities here on whether we

   21    should be kept waiting.      We filed a timely suit against these

   22    defendants but there is a two-year statute of limitations that

   23    is keyed off from the day of the trips that are outlined in the

   24    complaint which will start coming to roost sort at the

   25    beginning of next year.
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     1             So if you grant what you are looking for and by some

     2   chance you later conclude that as to some of them there is no

     3   personal jurisdictional, I fully expect them to come argue to

     4   you that the action should be not only dismissed but also

     5   barred as untimely, and one of the things that I think may be

     6   going on here is a little bit of a tactical ploy where they

     7   proffer a large amount of factual materials that they expect

     8   the Court to take on faith in fighting personal jurisdiction

     9   and then hope to get a stay until they can later argue that the

   10    action which was timely filed is time barred if the Court

   11    should happen to agree with their personal jurisdiction

   12    arguments.

   13              On the final point that Mr. Pegg made about how I am

   14    arguing, you know, the merits of the discovery, I am, frankly,

   15    mystified by his point.      If you look at his own filings, there

   16    is a footnote three in his motion to move for dismissal for

   17    lack of personal jurisdiction in which he affirmatively argues

   18    that in order to assess the tort prong of the Florida Long-Arm

   19    Statute one has to get a sense as to what the tort actually is.

   20              (The court reporter was disconnected from the phone

   21    call at this point and had to call in again.)

   22              THE COURT REPORTER:     Excuse me.    This is the court

   23    reporter.    I got cut off.    I tried texting Jermaine, but I

   24    don't think he got it on time.

   25              I got cut off when Mr. Estrada was speaking.         The last
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     1   thing I got was the tort prong of the Long-Arm Statute

     2   argument.

     3              THE COURT:   Okay.   Mr. Estrada, can you repeat?

     4              MR. ESTRADA:   I don't recall exactly where she left

     5   off.   I think all I was going to say is I wasn't trying to

     6   argue merits discovery.      I was simply trying to do exactly what

     7   DSV argued in footnote three of his brief, which is that part

     8   of the assessment under the tort prong of the Long-Arm Statute

     9   is to assess what the tort actually is, and it so happens that

   10    the definition of the federal tort here commences with the

   11    proposition that one has engaged in commercial activity that

   12    used or benefited from the confiscated property or participated

   13    with others in the same.

   14               And that I was just quoting what his own brief actually

   15    urges as the correct analysis.

   16               THE COURT:   Okay.   So, as I was just saying, here both

   17    sides are asking me to stay the briefing on the motion to

   18    dismiss for lack of personal jurisdiction, albeit for different

   19    reasons.

   20               There is still the pending motion to dismiss for lack

   21    of subject matter jurisdiction, which is not yet ripe.

   22               I do having -- especially having had the benefit of

   23    argument from everyone, I do think that the best course of

   24    action is to stay the proceedings and allow full briefing on

   25    the motion to dismiss for lack of subject matter jurisdiction,
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     1   and once that motion is fully briefed, I will have a better

     2   sense of whether or not I should let the case proceed, at least

     3   as far as any jurisdictional discovery and whether or not I

     4   should allow the briefing to continue as to the motion to

     5   dismiss on the 12(b) motion, the 12(b)(2) motion.

     6             So I am going to grant the respective motions to stay

     7   the briefing as to the -- the briefing on the 12(b)(2) motions

     8   to dismiss.

     9             I am going to let the case continue with the briefing

   10    on the motion to dismiss for lack of subject matter

   11    jurisdiction.

   12              I am going to set this for a status conference so the

   13    parties can appear by telephone again on November 18th at

   14    10:00 a.m. and, of course, before I hang up, you can check your

   15    respective calendars to make sure everyone is available on

   16    November 18th.

   17              Again, by that time the motion to dismiss for lack of

   18    subject matter jurisdiction will be fully briefed.          I will have

   19    a better sense of where we are.

   20              MR. ESTRADA:    Your Honor, I'm sorry to interrupt, one

   21    clarification and one housekeeping issue, when you say the

   22    motion to dismiss for lack of matter jurisdiction, I assume you

   23    are referring to our ongoing motions for jurisdictional

   24    discovery, which is the motion that is currently being briefed.

   25              THE COURT:    There is more.    There is several.     There
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     1   are a few motions here.

     2             There is the joint motion to dismiss.

     3             MR. ESTRADA:    There is a motion to dismiss for (b)(1)

     4   and (b)(6) which we are filing a response to today and no one

     5   is asking to stay that.

     6             THE COURT:    But I am not staying that.

     7             MR. ESTRADA:    No, I understand.

     8             Then there is a motion to dismiss for lack of personal

     9   jurisdiction to which we have countered that we cannot respond

   10    to that until we get jurisdictional discovery, and that's why

   11    we sought a stay.

   12              They want the whole thing stayed, including

   13    jurisdictional discovery, so I am a little bit -- I'm sorry and

   14    I do apologize.     I am a little bit confused as to what is it

   15    that is proceeding.

   16              Our position is that we cannot brief the motion to

   17    dismiss for personal jurisdiction without jurisdictional

   18    discovery.    There is briefing on the jurisdictional discovery

   19    motion so I am trying to clarify what is it that we are to

   20    continue.    I thought it was the jurisdictional discovery

   21    briefing.

   22              THE COURT:    Mr. Estrada, I thought I was clear so I am

   23    going to try this again.

   24              You are going to continue your briefing on the motion

   25    to dismiss for lack of subject matter jurisdiction.          That is at
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     1   Docket Entry 54, so you will file your response today unless

     2   you need some more time, which I will consider giving you more

     3   time if you need it.      And then we will have a reply within

     4   seven days of that, and I am going to stay further briefing on

     5   the motion to dismiss for lack of personal jurisdiction, which

     6   is a 12(b)(2) motion.

     7             MR. ESTRADA:    Thank you.

     8             THE COURT:    And the motion for leave to conduct

     9   jurisdictional discovery will be stayed also.

   10              MR. ESTRADA:    Oh, I see, okay.

   11              THE COURT:    I will consider all of those motions when

   12    we reconvene on November 18th because by then the motion to

   13    dismiss for lack of subject matter jurisdiction will be fully

   14    briefed and I will have a better idea of how to proceed at that

   15    point.

   16              MR. ESTRADA:    Understood, Your Honor.

   17              THE COURT:    Okay.

   18              MR. ESTRADA:    So that I understand -- okay.       So we

   19    don't have to further brief the motion to conduct

   20    jurisdictional discovery until we appear before you on

   21    November 18th.     That is what I was not understanding.

   22              THE COURT:    Exactly.   There is nothing -- you don't

   23    have to file anything on the personal jurisdiction motions

   24    until I direct you to do so on November 18th.

   25              MR. ESTRADA:    And for purposes of my report to my
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     1   client today, you have essentially granted the defendant's

     2   motion for a stay until November 18th, with the exception of

     3   the pending motions to dismiss?

     4             THE COURT:    Yes, I am granting both your motion to stay

     5   and the defendant's motion to stay that briefing but for

     6   different reasons, obviously.

     7             All of this will be memorialized on the docket either

     8   today or tomorrow so that everyone is clear.

     9             So with regard to your response to the lack -- to the

   10    motion to dismiss for lack of subject matter jurisdiction,

   11    which is due today, was today fine or do you need more time?

   12              MR. ESTRADA:    Just if I could have an extra three days

   13    until the end of the weekend -- I am prepared to file it today.

   14    I would like to make a report to my client as to the

   15    proceedings that occurred today, and I would like to file it as

   16    soon as I can, Your Honor.        But I would definitely speak to my

   17    client just to see if they need to make any changes in light of

   18    the proceedings today.      I would not mind having until Friday if

   19    that's okay with the Court.

   20              THE COURT:    That's fine with me.     That will be due on

   21    the close of business Friday, October 16th.

   22              MR. ESTRADA:    Okay.    Thank you, Your Honor.     In light

   23    of the stay that you granted today until November 18th, which I

   24    consider effectively an oral granting of the written motion

   25    that the defendants filed two days ago for a stay of
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     1   proceedings, I assume as well that we don't have to answer that

     2   motion in writing and that that's also stayed.

     3             THE COURT:    Until I tell you to file anything else, you

     4   don't have to do anything.

     5             MR. ESTRADA:    Thank you, Your Honor.

     6             THE COURT:    This will -- I mean, I am giving you an

     7   oral ruling now, but it's going to be memorialized in writing

     8   which you will get either later today or tomorrow.

     9             MR. ESTRADA:    Thank you, Your Honor.

   10              THE COURT:    Okay.   Anything else from the defendants?

   11              MR. SURGEON:    Yes, Your Honor.     This is Naim Surgeon

   12    from Akerman.

   13              One other thing that I think we would want to point out

   14    is the opposition to the motion to dismiss was subject to an

   15    agreed-upon extension of page limits.        I believe it's going to

   16    be around 35 pages.      We would probably -- we anticipate that we

   17    are going to be seeking a short extension on the time to reply

   18    and probably an extension of the page limits for the reply so I

   19    just want to make the Court aware of that.

   20              THE COURT:    Okay.   Well, first speak to Mr. Estrada to

   21    see if you can get some agreement and then submit whatever you

   22    need to to the Court.

   23              MR. ESTRADA:    Yes, Your Honor, and as counsel knows, we

   24    usually accommodate counsel as a courtesy.

   25              THE COURT:    Okay.
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     1             All right.    Anything else from either side that we need

     2   to take up today?

     3             All right.    Hearing nothing, we will be in recess.

     4   Thank you.

     5             MR. ESTRADA:    Thank you, Your Honor.

     6             MR. SURGEON:    Thank you, Your Honor.

     7             MR. PEGG:    Thank you, Your Honor.

     8             (Proceedings were concluded at 11:40 a.m.)

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     2

     3
                     I hereby certify that the foregoing is an
     4
         accurate transcription of the proceedings in the
     5
         above-entitled matter.
     6

     7

     8               Please note:    This hearing occurred during the

     9   COVID-19 pandemic and is therefore subject to the

   10    technological limitations of reporting remotely.

   11

   12

   13

   14
         October 28, 2020           /s/Patricia Diaz      _____
   15    DATE                       PATRICIA DIAZ, FCRR, RPR, FPR
                                    Official Court Reporter
   16                               United States District Court
                                    400 North Miami Avenue, 11th Floor
   17                               Miami, Florida 33128
                                    (305) 523-5178
   18

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